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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

Albertine McCord,                         )
                                          )
                  Plaintiff,              )                                           2:18-cv-02068-MDL
                                                                     Civil Action No. ________________
      v.                                  )
                                          )                               COMPLAINT
Monsanto Company,                         )                          (JURY TRIAL DEMANDED)
                                          )
                  Defendant.              )
_________________________________________ )


                                               COMPLAINT

        Plaintiff, Albertine McCord (“Plaintiff”), by and through her undersigned attorneys, hereby

brings this Complaint for damages against Defendant Monsanto Company, and alleges the

following:

                                             INTRODUCTION

        1.       In 1970, Defendant Monsanto Company, Inc. (“Monsanto”) discovered the

herbicidal properties of glyphosate and began marketing it in products in 1974 under the brand

name Roundup®. Roundup® is a non-selective herbicide used to kill weeds that commonly

compete with the growing of crops. In addition to the active ingredient glyphosate, Roundup®

contains the surfactant polyoxyethylene tallow amine (POEA) and/or adjuvants and other so-called

“inert” ingredients. In 2001, glyphosate was the most used pesticide active ingredient in American

agriculture with 85-90 million pounds used annually. That number grew to 185 million pounds in

2007.1 As of 2013, glyphosate was the world’s most widely used herbicide.




1
 Arthur Grube et al., U.S. Envtl. Prot. Agency, Pesticides Industry Sales and Usage, 2006-2007 Market Estimates
14 (2011), available at https://www.epa.gov/sites/production/files/2015-10/documents/market_estimates2007.pdf.
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        2.       Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri, and incorporated in Delaware. It is the world’s leading producer of glyphosate.

As of 2009, Monsanto was the world’s leading producer of seeds, accounting for 27% of the world

seed market.2 The majority of these seeds are of the Roundup Ready® brand. The stated advantage

of Roundup Ready® crops is that they substantially improve a farmer’s ability to control weeds,

because glyphosate can be sprayed in the fields during the growing season without harming the

crops. In 2010, an estimated 70% of corn and cotton and 90% of soybean fields in the United States

were Roundup Ready®.3

        3.       Monsanto’s glyphosate products are registered in 130 countries and approved for

use on over 100 different crops.4 They are ubiquitous in the environment. Numerous studies

confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where

Roundup® is used.5 It has been found in food,6 in the urine of agricultural workers,7 and even in

the urine of urban dwellers who are not in direct contact with glyphosate.8




2
  ETC Group, Who Will Control the Green Economy? 22 (2011), available at
http://www.etcgroup.org/files/publication/pdf_file/ETC_wwctge_4web_Dec2011.pdf.
3
  William Neuman & Andrew Pollack, Farmers Cope With Roundup-Resistant Weeds, N.Y. TIMES, May 3, 2010,
available at http://www.nytimes.com/2010/05/04/business/energy-environment/04weed.html?pagewanted=all.
4
  Monsanto, Backgrounder-History of Monsanto’s Glyphosate Herbicides (June 2005), available at
https://monsanto.com/app/uploads/2017/06/back_history.pdf.
5
  See U.S. Geological Survey, USGS Technical Announcement: Widely Used Herbicide Commonly Found in Rain
and Streams in the Mississippi River Basin (2011), available at
https://archive.usgs.gov/archive/sites/www.usgs.gov/newsroom/article.asp-ID=2909.html; see also Nat’l Pesticide
Info. Center, Glyphosate: General Fact Sheet, available at http://npic.orst.edu/factsheets/glyphogen.pdf.
6
  Thomas Bohn et al., Compositional Differences in Soybeans on the Market: Glyphosate Accumulates in Roundup
Ready GM Soybeans, 153 FOOD CHEMISTRY 207 (2013), available at
https://www.sciencedirect.com/science/article/pii/S0308814613019201.
7
  John F. Acquavella et al., Glyphosate Biomonitoring for Farmers and Their Families: Results from the Farm
Family Exposure Study, 112(3) ENVTL. HEALTH PERSPECTIVES 321 (2004), available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1241861/; Kathryn Z. Guyton et al., Carcinogenicity of
Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, 112 IARC Monographs 76, section 5.4 (2015),
available at http://www.thelancet.com/journals/lanonc/article/PIIS1470-2045(15)70134-8/fulltext.
8
  Dirk Brändli & Sandra Reinacher, Herbicides found in Human Urine, 1 ITHAKA JOURNAL 270 (2012),
available at http://www.ithaka-journal.net/druckversionen/e052012-herbicides-urine.pdf.
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           4.       In March 2015, the International Agency for Research on Cancer (“IARC”), an

agency of the World Health Organization (“WHO”), evaluated several herbicides, including

glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in several

countries around the world, and it traces the health implications from exposure to glyphosate since

2001.

           5.       On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

           6.       The IARC Working Group classified glyphosate as a Group 2A herbicide, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposure are non-Hodgkin lymphoma (“NHL”) and other

haematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.9

           7.       The IARC evaluation is significant. It confirms what has been believed for years:

that glyphosate is toxic to humans.

           8.       Nevertheless, Monsanto, since it began selling Roundup®, has represented it as

safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues

to proclaim to the world, and particularly to United States consumers, that glyphosate-based

herbicides, including Roundup®, create no unreasonable risks to human health or to the

environment.




9
    See Guyton et al., Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, supra.
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                                        JURISDICTION AND VENUE

        9.      Federal diversity in this Court is proper under 28 U.S.C. § 1332 because Plaintiff

is a citizen of South Carolina, a different state than the Defendant’s place of incorporation

(Delaware) and Defendant’s headquarters (Missouri), and the aggregate amount in controversy

exceeds $75,000, exclusive of interest and costs.

        10.     This Court has personal jurisdiction over Monsanto because Monsanto transacts

business in South Carolina and is a corporation doing business within South Carolina. Monsanto

knows or should have known that its Roundup® products are and were sold throughout the state

of South Carolina, and, more specifically, caused Roundup® to be sold to Plaintiff in South

Carolina.

        11.     In addition, Monsanto maintains sufficient contacts with the state of South Carolina

such that this Court’s exercise of personal jurisdiction over it does not offend traditional notions

of fair play and substantial justice.

        12.     Venue is proper within this District because the events giving rise to this action

happened in or are closely related to this District.

                                             PARTIES

                                    Albertine McCord, Plaintiff

        13.     Plaintiff Albertine McCord is a natural person, is a citizen of the State of South

Carolina, and is a resident of Charleston, South Carolina.

        14.     Ms. McCord was exposed to Roundup® in or around Charleston County, South

Carolina from 2000 through 2009. She was diagnosed with large B-cell lymphoma, a form of

NHL in April 2009.
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                                Monsanto Company, Defendant

       15.     Defendant Monsanto Company is a corporation created under the laws of the State

of Delaware with its headquarters and principal place of business in St. Louis, Missouri.

                                             FACTS

       16.     At all times relevant to this complaint, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the manufacturer of Roundup®, which contains the active

ingredient glyphosate and the surfactant POEA, as well as adjuvants and other “inert” ingredients.

Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of herbicidal

products around the world.

       17.     Plants treated with glyphosate translocate the systemic herbicide to their roots,

shoot regions, and fruit, where it interferes with the plant’s ability to form aromatic amino acids

necessary for protein synthesis. Treated plants generally die within two to three days. Because

plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by

milling, baking, or brewing grains.

       18.     For nearly 40 years, farms across the world have used Roundup® without knowing

of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted

glyphosate as a technological breakthrough: it could kill almost every weed without causing harm

either to people or to the environment. Of course, history has shown that not to be true. According

to WHO, the main ingredient of Roundup® – glyphosate – is a probable cause of cancer. Those

most at risk are farm workers and other individuals with workplace exposure to Roundup®, such

as garden center workers, nursery workers, and landscapers. Agricultural workers are, once again,

victims of corporate greed. Monsanto assured the public that Roundup® was harmless. In order to

prove this, Monsanto has championed falsified data and has attacked legitimate studies that
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revealed Roundup’s dangers. Monsanto has led a prolonged campaign of misinformation to

convince government agencies, farmers and the general population that Roundup® is safe.

                     The Discovery of Glyphosate and Development of Roundup®

           19.      The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-

1970’s under the brand name Roundup®.10 From the outset, Monsanto marketed Roundup® as a

“safe” general purpose herbicide for widespread commercial and consumer use. It still markets

Roundup® as safe today.11

           20.      In addition to the active ingredient glyphosate, Roundup® formulations also

contain adjuvants and other chemicals such as the surfactant POEA, which are considered “inert”

and therefore protected as “trade secrets” in manufacturing. Growing evidence suggests that these

adjuvants and additional components of Roundup® formulations are not, in fact, inert and are toxic

in their own right.

                               Registration of Herbicides under Federal Law

           21.      The manufacture, formulation, and distribution of herbicides, such as Roundup® ,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”),

7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

           22.      Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target


10
     Monsanto, Backgrounder-History of Monsanto’s Glyphosate Herbicides (June 2005), supra.
11
     See Monsanto, Crop Protection, https://monsanto.com/innovations/crop-protection/ (last visited Mar. 21, 2018).
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organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The determination the Agency must make in registering or re-

registering a product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse effects on the

environment.” 7 U.S.C. § 136a(c)(5)(D).

       23.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to make a risk/benefit analysis in determining whether a registration should be

granted or a pesticide allowed to continue to be sold in commerce.

       24.     The EPA and the State of South Carolina registered Roundup® for distribution,

sale, and manufacture in the United States and the State of South Carolina.

       25.     FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,

conducts the health and safety testing of pesticide products. The EPA has protocols governing the

conduct of tests required for registration and the laboratory practices that must be followed in

conducting these tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, nor is it able, however, to perform the

product tests that are required of the manufacturer.

       26.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a congressionally mandated process called “re-registration.” 7 U.S.C. § 136a-1.
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In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s recent review and evaluation.

        27.     In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment – in relation to the reregistration process – no later than

July 2015. The EPA completed review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO’s health-related findings.

       Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup®

        28.     Based on early studies showing that glyphosate could cause cancer in laboratory

animals, the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C)

in 1985. After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA

changed its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so

classifying glyphosate, however, the EPA made clear that the designation did not mean the

chemical does not cause cancer: “It should be emphasized, however, that designation of an agent

in Group E is based on the available evidence at the time of evaluation and should not be

interpreted as a definitive conclusion that the agent will not be a carcinogen under any

circumstances.12

        29.     On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup® products for registration purposes committed fraud.

        30.     In the first instance, in seeking initial registration of Roundup® by the EPA,

Monsanto, hired Industrial Bio-Test laboratories (hereinafter “IBT”) to perform and evaluate

pesticide toxicology studies relating to Roundup®.13 IBT performed about 30 tests on glyphosate


12
   U.S. Envtl. Prot. Agency, Memorandum, Subject: SECOND Peer Review of Glyphosate 1 (1991), available at
https://archive.epa.gov/pesticides/chemicalsearch/chemical/foia/web/pdf/103601/417300-1991-10-30a.pdf.
13
   Monsanto, Backgrounder, Testing Fraud: IBT and Craven Laboratories (June 2005), available at
https://monsanto.com/app/uploads/2017/06/ibt_craven_bkg.pdf.
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and glyphosate-containing products, including 9 of the 15 residue studies needed to register

Roundup®.

        31.      In 1976, the United States Food and Drug Administration (hereinafter “FDA”)

performed an inspection of IBT that revealed discrepancies between the raw data and the final

report relating to the toxicological impacts of glyphosate. The EPA subsequently audited IBT; it

too found the toxicology studies conducted for the Roundup® herbicide to be invalid.14 An EPA

reviewer stated, after finding “routine falsification of data” at IBT, that it was “hard to believe the

scientific integrity of the studies when they said they took specimens of the uterus from male

rabbits.”15

        32.      Three top executives of IBT were convicted of fraud in 1983.

        33.      In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including Roundup®. In that same year, the owner

of Craven Laboratories and three of its employees were indicted and later convicted, of fraudulent

laboratory practices in the testing of pesticides and herbicides.16

        34.      Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Monsanto was marketing Roundup® in 115 countries.




14
   U.S. Envtl. Prot. Agency, Summary of the IBT Review Program Office of Pesticide Programs (1983), available at
https://nepis.epa.gov/Exe/ZyNET.exe/91014ULV.TXT?ZyActionD=ZyDocument&Client=EPA&Index=1981+Thru
+1985&Docs=&Query=&Time=&EndTime=&SearchMethod=1&TocRestrict=n&Toc=&TocEntry=&QField=&QF
ieldYear=&QFieldMonth=&QFieldDay=&IntQFieldOp=0&ExtQFieldOp=0&XmlQuery=&File=D%3A%5Czyfiles
%5CIndex%20Data%5C81thru85%5CTxt%5C00000022%5C91014ULV.txt&User=ANONYMOUS&Password=an
onymous&SortMethod=h%7C&MaximumDocuments=1&FuzzyDegree=0&ImageQuality=r75g8/r75g8/x150y150g
16/i425&Display=hpfr&DefSeekPage=x&SearchBack=ZyActionL&Back=ZyActionS&BackDesc=Results%20pag
e&MaximumPages=1&ZyEntry=1&SeekPage=x&ZyPURL.
15
   Marie-Monique Robin, The World According to Monsanto: Pollution, Corruption and the Control of the World’s
Food Supply (2011) (citing U.S. Envtl. Prot. Agency, Data Validation, Memo from K. Locke, Toxicology Branch, to
R. Taylor, Registration Branch. Washington, D.C. (August 9, 1978)).
16
   Monsanto, Backgrounder, Testing Fraud: IBT and Craven Laboratories, supra.
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           The Importance of Roundup® to Monsanto’s Market Dominance Profits

        35.      The success of Roundup® was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s

agricultural division was out-performing its chemical division’s operating income, and the gap

increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off

impending competition.

        36.      In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. As Roundup Ready® crops are resistant to glyphosate, farmers

can spray Roundup® onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup® even further. By 2000, Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready® seeds, thereby securing Monsanto’s

dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled

proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

        37.      Through a three-pronged strategy of increasing production, decreasing prices, and

by coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable

product. In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides

by a margin of 5 to 1, and accounting for close to half of Monsanto’s revenue.17 Today, glyphosate

remains one of the world’s largest herbicides by sales volume.




17
   David Barboza, The Power of Roundup; A Weed Killer Is a Block for Monsanto to Build On, N.Y. TIMES, Aug.
2, 2001, available at http://www.nytimes.com/2001/08/02/business/the-power-of-roundup-a-weed-killer-is-a-block-
for-monsanto-to-build-on.html.
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  Monsanto Has Known for Decades That It Falsely Advertises the Safety of Roundup®

       38.    In 1996, the New York Attorney General (hereinafter “NYAG”) filed a lawsuit

against Monsanto based on its false and misleading advertising of Roundup® products.

Specifically, the lawsuit challenged Monsanto’s general representations that its spray-on

glyphosate-based herbicides, including Roundup®, were “safer than table salt” and “practically

non-toxic” to mammals, birds, and fish. Among the representations the NYAG found deceptive

and misleading about the human and environmental safety of glyphosate and/or Roundup® are the

following:

              a. “Remember that environmentally friendly Roundup herbicide is biodegradable.

                  It won’t build up in the soil so you can use Roundup with confidence along

                  customers’ driveways, sidewalks, and fences…”

              b. “And remember that Roundup is biodegradable and won’t buildup in the soil.

                  That will give you the environmental confidence you need to use Roundup

                  everywhere you’ve got a weed, brush, edging, or trimming problem.”

              c. “Roundup biodegrades into naturally occurring elements.”

              d. “Remember that versatile Roundup herbicide stays where you put it. That

                  means there’s no washing or leaching to harm customers’ shrubs or other

                  desirable vegetation.”

              e. “This non-residual herbicide will not wash or leach in the soil. It…stays where

                  you apply it.”

              f. “You can apply Roundup with ‘confidence because it will stay where you put

                  it.’ It binds tightly to soil particles, preventing leaching. Then, soon after

                  application, soil microorganisms biodegrade Roundup into natural products.”
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                g. “Glyphosate is less toxic to rats than table salt following acute oral ingestion.”

                h. “Glyphosate’s safety margin is much greater than required. It has over a 1,000-

                     fold safety margin in food and over a 700-fold safety margin for workers who

                     manufacture it or use it.”

                i. “You can feel good about using herbicides by Monsanto. They carry a toxicity

                     category rating of ‘practically non-toxic’ as it pertains to mammals, birds, and

                     fish.”

                j. “Roundup can be used where kids and pets will play and breaks down into

                     natural material.” “This ad depicts a person with his head in the ground and a

                     pet dog in an area which has been treated with Roundup®.18

        39.     On November 19, 1996 Monsanto entered into an Assurance of Discontinuance

with the NYAG, in which Monsanto agreed, among other things, “to cease and desist from

publishing or broadcasting any advertising [in New York] that represent, directly or by

implication” that:

                a. its glyphosate containing pesticide products or any component thereof are safe,

                     non-toxic, harmless or free from risk.

                b. its glyphosate containing pesticide products or any component thereof

                     manufactured, formulated, distributed by Monsanto are biodegradable.

                c. its glyphosate containing pesticide products or any component thereof stay

                     where they are applied under all circumstances and will not move through the

                     environment by any means.




18
  Attorney General of the State of New York, in the Matter of Monsanto Company, Assurance of Discontinuance
Pursuant to Executive Law § 63(15) (Nov. 1996).
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                 d. its glyphosate containing pesticides products or any component thereof are

                     “good” for the environment or are “known for their environmental

                     characteristics.”

                 e. glyphosate containing pesticide products or any component thereof are safer or

                     less toxic than common consumer products other than herbicides.

                 f. its glyphosate containing products or any component thereof might be classified

                     as “practically non-toxic.”

        40.      Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief it still has not done so as of today.

        41.      In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”19

                            Classification and Assessments of Glyphosate

        42.      The IARC process for the classification of glyphosate followed IARC’s stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined that 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and 1 agent

to be Probably Not Carcinogenic.




19
  Monsanto Guilty in ‘False Ad’ Row, BBC, Oct. 15, 2009, available at
http://news.bbc.co.uk/2/hi/europe/8308903.stm.
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        43.     The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble.20 Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

        44.     One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings are published in The Lance

Oncology, and within a year after the meeting, the finalized Monograph is published.

        45.     In assessing an agent, the IARC Working Group reviews the following information:

(a) human, experimental, and mechanistic data; (b) all pertinent epidemiological studies and cancer

bioassays; and (c) representative mechanistic data. The studies must be publically available and

have sufficient detail for meaningful review, and reviewers cannot be associated with the

underlying study.

        46.     In March 2015, the IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

        47.     On July 29, 2015, the IARC issued its Monograph for glyphosate, Monograph

Volume 112. For Volume 112, a Working Group of 17 experts from 11 countries met at the IARC


20
  World Health Org., IARC Monographs on the Evaluation of Carcinogenic Risks to Humans: Preamble (2006),
available at http://monographs.iarc.fr/ENG/Preamble/CurrentPreamble.pdf.
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from March 3-10, 2015, to assess the carcinogenicity of certain herbicides, including glyphosate.

The March meeting culminated an almost year-long review and preparation by the IARC

Secretariat and the Working Group, including a comprehensive review of the latest available

scientific evidence. According to published procedures, the Working Group considered “reports

that have been published or accepted for publication in the openly available scientific literature”

as well as “data from governmental reports that are publically available.”

       48.       The studies considered the following exposure groups: (1) occupational exposure

of farmers and tree nursery workers in the United States, forestry workers in Canada and Finland

and municipal weed-control workers in the United Kingdom; and (2) para-occupational exposure

in farming families.

       49.       Glyphosate was identified as the second most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       50.       Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater as well as food.

       51.       The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

       52.       The IARC Working Group found an increased risk between exposure to glyphosate

and NHL and several subtypes of NHL, and the increased risk persisted after adjustment for other

pesticides.
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        53.      The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

        54.      In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor: renal tubule carcinoma. A second study reported a positive trend for hemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation promotion study in mice.

        55.      The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphonic acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        56.      The IARC Working Group further found that glyphosate and glyphosate formations

induced DNA and chromosomal damage in mammals, and in human and animal cells in utero.

        57.      The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate.21 Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

        58.      The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina.22

While this study differed from other in that it was based on a self-administered questionnaire, the




21
  Guyton et al., Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, supra at 77.
22
  Anneclare J. De Roos et al., Cancer Incidence Among Glyphosate-Exposed Pesticide Applicators in the
Agricultural Health Study, 113 Envt’l Health Perspectives 49-54 (2005), available at
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1253709/pdf/ehp0113-000049.pdf.
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results support an association between glyphosate exposure and multiple myeloma, hairy cell

leukemia (HCL), and chronic lymphocytic leukemia (CLL), in addition to several other cancers.

                 Other Earlier Findings About Glyphosate’s Dangers to Human Health

           59.      The EPA published a technical fact sheet as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication relating to glyphosate. This technical

fact sheet predates IARC’s March 2015 evaluation. The fact sheet describes the release patterns

for glyphosate as follows:

           Release Patterns

           Glyphosate is released to the environment in its use as an herbicide for controlling

           woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped

           sites. These sites may be around water and in wetlands. It may also be released to

           the environment during its manufacture, formulation, transport, storage, disposal

           and cleanup, and from spills. Since glyphosate is not a listed chemical in the Toxics

           Release Inventory, data on releases during its manufacture and handling are not

           available. Occupational workers and home gardeners may be exposed to glyphosate

           by inhalation and dermal contact during spraying, mixing, and cleanup. They may

           also be exposed by touching soil and plants to which glyphosate was applied.

           Occupational exposure may also occur during glyphosate’s manufacture, transport

           storage, and disposal.23

           60.      In 1995, the Northwest Coalition for Alternatives to Pesticides reports that in

California, the state with the most comprehensive program for reporting of pesticide-caused




23
     Nat’l Pesticide Info. Center, Glyphosate: General Fact Sheet, supra.
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illness, glyphosate was the third most commonly reported cause of pesticide illness among

agricultural workers.24

                                The Toxicity of Other Ingredients in Roundup®

        61.      In addition to the toxicity of the active ingredient glyphosate, several studies

support the hypothesis that the glyphosate-based formulation in Defendant’s Roundup® products

is more dangerous and toxic than glyphosate alone. Indeed, as early as 1991, available evidence

demonstrated that glyphosate formulations were significantly more toxic than glyphosate alone.25

        62.      In 2002, a study by Julie Marc, entitled “Pesticide Roundup Provokes Cell Division

Dysfunction at the Level of CDK1/Cyclin B Activation,” revealed that Roundup® causes delays

in the cell cycles of sea urchins but that the same concentrations of glyphosate alone were

ineffective and did not alter cell cycles.26

        63.      A 2004 study by Marc and others, entitled “Glyphosate-based pesticides affect cell

cycle regulation,” demonstrated a molecular link between glyphosate-based products and cell

cycle dysregulation. The researchers noted that “cell cycle dysregulation is a hallmark of tumor

cells and human cancer. Failure in the cell cycle checkpoints leads to genomic instability and

subsequent development of cancer from the initial affect cell.” Further, “[s]ince cell cycle disorder

such as cancer result from dysfunctions of a unique cell, it was of interest to evaluate the threshold

dose of glyphosate affecting the cells.”27



24
   Caroline Cox, Glyphosate, Part 2: Human Exposure and Ecological Effects, 15 J. PESTICIDE REFORM 4
(1995); W.S. Peas et al., Preventing pesticide-related illness in California agriculture: Strategies and priorities.
Environmental Health Policy Program Report, Univ. of Cal. School of Public Health, Calif. Policy Seminar (1993).
25
   Martinez, T.T. and K. Brown, Oral and pulmonary toxicology of the surfactant used in Roundup herbicide,
PROC. WEST. PHARMACOL. SOC. 34:43-46 (1991).
26
   Julie Marc, et al., Pesticide Roundup Provokes Cell Division Dysfunction at the Level of CDK1/Cyclin B
Activation, 15 CHEM. RES. TOXICOL. 326-331 (2002), available at
http://pubs.acs.org/doi/full/10.1021/tx015543g.
27
   Julie Marc, et al., Glyphosate-based pesticides affect cell cycle regulation, 96 BIOLOGY OF THE CELL 245,
245-249 (2004), available at https://www.ncbi.nlm.nih.gov/pubmed/15182708.
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        64.      In 2005, a study by Francisco Peixoto entitled “Comparative effects of Roundup®

and glyphosate on mitochondrial oxidative phosphorylation,” demonstrated that Roundup®’s

effects on rat liver mitochondria are far more toxic than equal concentrations of glyphosate alone.

The Peixoto study further suggested that the harmful effects of Roundup® on mitochondrial

bioenergetics could not be exclusively attributed to glyphosate but could be the result of other

chemicals, such as the surfactant POEA, or in the alternative, due to a potential synergic effect

between glyphosate and other ingredients in the Roundup® formulation.28

        65.      In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining the

effects of Roundup® and glyphosate on human umbilical, embryonic, and placental cells. The

study tested dilution levels of Roundup® and glyphosate that were far below agricultural

recommendations, corresponding with low levels of residue in food. The researchers ultimately

concluded that supposed “inert” ingredients, and possibly POEA, alter human cell permeability

and amplify toxicity of glyphosate alone. The researchers further suggested that assessments of

glyphosate toxicity should account for the presence of adjuvants or additional chemicals used in

the formulation of the complete pesticide. The study confirmed that the adjuvants present in

Roundup® are not, in fact, inert and that Roundup® is potentially far more toxic than its active

ingredient glyphosate alone.29

        66.      The results of these studies were at all times available to Monsanto. Monsanto thus

knew or should have known that Roundup® was, and is more toxic than glyphosate alone and




28
   Francisco Peixoto, Comparative effects of the Roundup and glyphosate on mitochondrial oxidative
phosphorylation, 61 CHEMOSPHERE 1115, 1122 (2005), available at
https://www.ncbi.nlm.nih.gov/pubmed/16263381.
29
   Nora Benachour, et al., Glyphosate Formulations Induce Apoptosis and Necrosis in Human Umbilical,
Embryonic, and Placental Cells, 22 CHEM. RES. TOXICOL. 97-105 (2008), available at
http://big.assets.huffingtonpost.com/france.pdf.
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that safety studies of Roundup®, Roundup®’s adjuvants and “inert” ingredients, and/or the

surfactant POEA were necessary to protect Albertine McCord from Roundup®.

        67.      Despite its knowledge that Roundup® is considerably more dangerous than

glyphosate alone, Monsanto continued to promote Roundup® as safe.

                        Recent Worldwide Bans on Roundup®/Glyphosate

        68.      Several countries around the world have instituted bans on the sale of Roundup®

and other glyphosate-containing herbicides, both before and since IARC first published its

monograph for glyphosate in July 2015, and more countries undoubtedly will follow suit as the

dangers of the use of Roundup® become more widely known. The Netherlands issued a ban on

all glyphosate-based herbicides, including Roundup®, in April 2014 and which took effect at the

end of 2015. In issuing the ban, the Dutch Parliament member who introduced the successful

legislation stated: “Agricultural pesticides in user-friendly packaging are sold in abundance to

private persons. In garden centers, Roundup® is promoted as harmless, but unsuspecting

customers have no idea what the risks of this product are. Especially children are sensitive to toxic

substances and should therefore not be exposed to it.”30

        69.      The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.31




30
   Holland’s Parliament Bans Glyphosate Herbicides, The Real Agenda, April 14, 2014, available at http://real-
agenda.com/hollands-parliament-bans-glyphosate-herbicides/.
31
   Christina Sarich, Brazil’s Public Prosecutor Wants to Ban Monsanto’s Chemicals Following Recent Glyphosate-
Cancer Link, GLOBAL RESEARCH, MAY 14, 2015, available at https://www.globalresearch.ca/brazils-public-
prosecutor-wants-to-ban-monsantos-chemicals-following-recent-glyphosate-cancer-link/5449440; see Ministério
Público Federal, MPF/DF reforça pedido para que glifosato seja banido do Mercado nacional, April 14, 2015,
available at http://www.mpf.mp.br/df/sala-de-imprensa/noticias-df/mpf-df-reforca-pedido-para-que-glifosato-seja-
banido-do-mercado-nacional.
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        70.      France banned the private sale of Roundup® and glyphosate following the IARC

assessment for glyphosate.32

        71.      Bermuda banned both the private and commercial sale of glyphosates, including

Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out be a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”33

        72.      The Sri Lankan government banned the private and commercial use of glyphosate,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.34

        73.      The government of Columbia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO’s finding that glyphosate is probably carcinogenic.35

                                          Proposition 65 Listing

        74.      On September 4, 2015, California’s Office of Environmental Health Hazard

Assessment (“OEHHA”) published a notice of intent to include glyphosate on the state’s list of

known carcinogens under Proposition 65.36 California’s Safe Drinking Water and Toxic

Enforcement Act of 1986 (informally known as “Proposition 65”), requires the state to maintain



32
   Zoe Schlanger, France Bans Sales of Monsanto’s Roundup in Garden Centers, 3 Months After U.N. Calls it
“Probable Carcinogen”, NEWSWEEK, JUNE 15, 2015, available at http://www.newsweek.com/france-bans-sale-
monsantos-roundup-garden-centers-after-un-names-it-probable-343311.
33
   Health Minister: Importation of Roundup Weed Spray Suspended, Today in Bermuda, May 11, 2015, available at
http://bernews.com/2015/05/importation-weed-spray-round-suspended/.
34
   Sri Lanka’s New President Puts Immediate Ban on Glyphosate Herbicides, Sustainable Pulse, May 25, 2015,
available at https://sustainablepulse.com/2015/05/25/sri-lankas-new-president-puts-immediate-ban-on-glyphosate-
herbicides/.
35
   Columbia to ban coca spraying herbicide glyphosate, BBC, May 10, 2015, available at
http://www.bbc.com/news/world-latin-america-32677411.
36
   Cal. Envtl. Prot. Agency Office of Envtl. Health Hazard Assessment, Notice of Intent to List Chemicals by the
Labor Code Mechanism: Tetrachlorvinphos, Parathion, Malathion, Glyphosate (Sept. 4, 2015), available at
https://oehha.ca.gov/proposition-65/crnr/notice-intent-list-tetrachlorvinphos-parathion-malathion-glyphosate.
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and, at least, once a year, revise and republish a list of chemicals “known to the State of California

to cause cancer or reproductive toxicity.”37 The OEHHA determined that glyphosate met the

criteria for the listing mechanism under the Labor Code following the IARC’s assessment of the

chemical.38

        75.      The listing process under the Labor Code is essentially automatic. The list of

known carcinogens, at a minimum, must include substances identified by reference in Labor Code

§ 6382(b)(1). That section of the Labor Code identifies “[s]ubstances listed as human or animal

carcinogens by the International Agency for Research on Cancer (IARC).” The IARC’s

classification of glyphosate as a Group 2A chemical (“probably carcinogenic to humans”)

therefore triggered the listing.

        76.      A business that deploys a listed chemical in its products must provide “clear and

reasonable warnings” to the public prior to exposure to the chemical. To be clear and reasonable,

a warning must “(1) clearly communicate that the chemical is known to cause cancer, and/or birth

defects or other reproductive harm; and (2) effectively reach the person before exposure.”39 The

law also prohibits the discharge of listed chemicals into drinking water.

        77.      Monsanto disputed the listing decision and, in January 2016, filed a lawsuit against

OEHHA and the agency’s acting director, Lauren Zeise, in California state court, seeking

declaratory and injunctive relief to prevent OEHHA from listing glyphosate.40




37
   Frequently Asked Questions, STATE OF CAL. DEPT OF JUSTICE, OFFICE OF THE ATTORNEY
GENERAL, available at http://oag.ca.gov/prop65/faq.
38
   Cal. Envtl. Prot. Agency Office of Envtl. Health Hazard Assessment, Notice of Intent to List Chemicals by the
Labor Code Mechanism: Tetrachlorvinphos, Parathion, Malathion, Glyphosate, supra.
39
   Frequently Asked Questions, STATE OF CAL. DEPARTMENT OF JUSTICE, OFFICE OF THE ATTORNEY
GENERAL, supra.
40
   Monsanto Company’s Verified Petition for Writ of Mandate and Complaint for Preliminary and Permanent
Injunctive and Declaratory Relief, Monsanto Co. v. Office of the Envt’l Health Hazard Assessment, et al., No. 16-
CECG-00183 (Cal. Super. Ct.).
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        78.      Monsanto alleged that OEHHA’s exclusive reliance of the IARC decision signified

that “OEHHA effectively elevated the determination of an ad hoc committee of an unelected,

foreign body, which answers to no United States official (let alone any California state official),

over the conclusions of its own scientific experts.”41 Monsanto further alleged that the Labor Code

listing mechanism presented various constitutional violations because it “effectively empowers

an unelected, undemocratic, unaccountable, and foreign body to make laws applicable in

California.”42 Among other things, Monsanto argued that Proposition 65’s requirement to provide

a “clear and reasonable warning” to consumers that the chemical is a known carcinogen would

damage its reputation and violate First Amendment rights.43

        79.      On November 12, 2015, the European Food Safety Authority (“EFSA”), the

European Union’s primary agency for food safety, reported on its evaluation of the Renewal

Assessment Report (“RAR”) on glyphosate.44 The Rapporteur Member State assigned to

glyphosate, the German Federal Institute for Risk Assessment (“BfR”), had produced the RAR as

part of the renewal process for glyphosate in the EU.

        80.      The BfR sent its draft RAR to the EFSA and the RAR underwent a peer review

process by EFSA, other member states, and industry groups. As part of the on-going peer review

of Germany’s reevaluation of glyphosate, the EFSA had also received a second mandate from the

European Commission to consider the IARC’s findings regarding the potential carcinogenicity of

glyphosate and glyphosate-containing products.




41
   Id. at 2.
42
   Id. at 3.
43
   Id.
44
   European Food Safety Auth., Conclusion on the peer review of the pesticide risk assessment of the active
substance glyphosate, available at
http://www.efsa.europa.eu/sites/default/files/scientific_output/files/main_documents/4302.pdf.
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        81.      Based on a review of the RAR, which included data from industry-submitted

unpublished studies, the EFSA sent its own report (“Conclusion”) to the European Commission,

finding that “glyphosate is unlikely to pose a carcinogenic hazard to humans and the evidence

does not support classification with regard to its carcinogenic potential according to Regulation

(“EC”) No. 1271/2008.”45 The EFSA therefore disagreed with the IARC: glyphosate was not

genotoxic and did not present a carcinogenic threat to humans.

        82.      In explaining why its results departed from the IARC’s conclusion, the EFSA drew

a distinction between the EU and the IARC approaches to the study and classification of

chemicals.46 Although the IARC examined “both glyphosate – an active substance – and

glyphosate-based formulations, grouping all formulations regardless of their composition,” the

EFSA explained that it considered only glyphosate and that its assessment focuses on “each

individual chemical, and each marketed mixture separately.”47 The IARC, on the other hand,

“assesses generic agents, including groups of related chemicals, as well as occupational or

environmental exposure, and cultural or behavioral practices.”48 The EFSA accorded greater

weight to studies conducted with glyphosate alone than studies of formulated products.49

        83.      The EFSA went further and noted:

        [A]lthough some studies suggest that certain glyphosate-based formulations may

        be genotoxic (i.e. damaging to DNA), other that look solely at the active substance

        glyphosate do not show this effect. It is likely, therefore, that the genotoxic effects

        observed in some glyphosate-based formulations are related to the other



45
   Id.
46
   EFSA Fact Sheet: Glyphosate, EFSA, available at
http://www.efsa.europa.eu/sites/default/files/corporate_publications/files/efsaexplainsglyphosate151112en.pdf.
47
   Id.
48
   Id.
49
   Id.
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        constituents or “co-formulants.” Similarly, certain glyphosate-based formulations

        display higher toxicity than that of the active ingredient, presumably because of the

        presence of co-formulants. In its assessment, the EFSA proposes that the toxicity

        of each pesticide formulation and in particular its genotoxic potential should be

        further considered and addressed by Member State authorities while they re-

        assess used of glyphosate-based formulations in their own territories.50

        (Emphasis added).

        84.      Notwithstanding its conclusion, the EFSA did set exposure levels for glyphosate.

Specifically, the EFSA proposed an acceptable daily intake (“ADI”) of 0.5 mg/kg of body weight

per day; an acute reference dose (“ARfD) of 0.5 mg/kg of body weight; and an acceptable operator

exposure level of (“AOEL”) of 0.1 mg/kg of body weight per day.51

                        Leading Scientists Dispute the EFSA’s Conclusion

        85.      On November 27, 2015, 96 independent academic and governmental scientists

from around the world submitted an open letter to the EU health commissioner, Vytenis

Andriukaitis.52 The scientists expressed their strong concerns and urged the commissioner to

disregard the “flawed” EFSA report, arguing that “the BfR decision is not credible because it is

not supported by the evidence and it was not reached in an open and transparent manner.”53




50
   Id.
51
   European Food Safety Auth., Conclusion on the peer review of the pesticide risk assessment of the active
substance glyphosate, supra.
52
   Letter from Christopher J. Portier et al. to Commission Vytenis Andriukaitis, Open letter: Review of the
Carcinogenicity of Glyphosate by EFSA and BfR (Nov. 27, 2015), available at
https://www.nrdc.org/sites/default/files/open-letter-from-dr-christopher-portier.pdf and
https://www.theguardian.com/environment/2016/jan/13/eu-scientists-in-row-over-safety-of-glyphosate-weedkiller.
53
   Id.
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            86.    Signatories to the letter included Dr. Christopher J. Portier, Ph.D., and other

renowned international experts in the field, some of whom were part of the IARC Working Group

assigned to glyphosate.

            87.    In an exhaustive and careful examination, the scientists scrutinized the EFSA’s

conclusions and outlined why the IARC Working Group decision was “by far the more credible”:

            The IARC WG decision was reached relying on open and transparent procedures

            by independent scientists who completed thorough conflict-of-interest statements

            and were not affiliated or financially supported in any way by the chemical

            manufacturing industry. It is fully referenced and depends entirely on reports

            published in the open, peer-reviewed biomedical literature. It is part of a long

            tradition of deeply researched and highly credible reports on the carcinogenicity of

            hundreds of chemicals issued over the past four decades by IARC and used today

            by international agencies and regulatory bodies around the world as a basis for risk

            assessment, regulation, and public health policy.54

            88.    With respect to human data, the scientists pointed out that the EFSA agreed with

the IARC that there was “limited evidence of carcinogenicity” for non-Hodgkin lymphoma, but

the EFSA nonetheless dismissed an association between glyphosate exposure and carcinogenicity.

The IARC applied three levels of evidence in its analysis of human data, including sufficient

evidence and limited evidence. The EFSA’s ultimate conclusion that “there was no unequivocal

evidence for a clear and strong association of NHL with glyphosate” was misleading because it

was tantamount to the IARC’s highest level of evidence: “sufficient evidence,” which means that




54
     Id.
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a causal relationship has been established. However, the scientist argued, ‘[l]egitimate public

health concerns arise when ‘causality is credible,’ i.e. when there is limited evidence.”55

            89.    Among its many other deficiencies, the EFSA’s conclusions regarding animal

carcinogenicity data were “scientifically unacceptable,” particularly in BfR’s use of historical

control data and in its trend analysis. Indeed, the BfR’s analysis directly contradicted the

Organization for Economic Co-operation and Development (“OECD”) testing guidelines while

citing and purporting to follow those same guidelines. For instance, the EFSA report dismisses

observed trends in tumor incidence “because there are no individual treatment groups that are

significantly different from control and because the maximum observed response is reportedly

within the range of the historical control data.” However, according to the scientists, concurrent

controls are recommended over historical control in all guidelines, scientific reports, and

publications, and, if historical control data is employed, such data “should be from studies in the

same timeframe, for the same exact animal strain, preferably from the same laboratory or the same

supplier and preferably reviewed by the same pathologist.” The BfR’s use of historical control

data violated these precautions: “only single study used the same mouse strain as the historian

controls, but was reported more than 10 years after the historical control dataset was developed.”

Further deviating from sound scientific practices, the data used by the BfR came from studies in

seven different laboratories. The scientists concluded:

            BfR reported seven positive mouse studies with three studies showing increases in

            renal tumors, two with positive findings for hemangiosarcomas, and two with

            positive findings for malignant lymphomas. BfR additionally reported two positive

            findings for tumors in rats. Eliminating the inappropriate use of historical data, the



55
     Id.
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         unequivocal conclusion is that these are not negative studies, but in fact document

         the carcinogenicity of glyphosate in laboratory animals.56

         90.      The letter also critiques the EFSA’s report’s lack of transparency and the opacity

surrounding the data cited in the report: “citations for almost all of the references, even those from

the open scientific literature, have been redacted from the document” and “there are no authors or

contributors listed for either document, a requirement for publication in virtually all scientific

journals.” Because the BfR relied on unpublished, confidential industry provided studies, it is

“impossible for any scientist not associated with BfR to review this conclusion with scientific

confidence.”57

         91.      On March 3, 2016, the letter was published in the Journal of Epidemiology &

Community Health.58

                  Statement of Concern Regarding Glyphosate-Based Herbicides

         92.      On February 17, 2016, a consensus statement published in the Journal of

Environmental Health, entitled “Concerns over use of glyphosate-based herbicides and risks

associated with exposures: a consensus statement, “assessed the safety of glyphosate-based

herbicides (“GBHs”).59 The paper’s “focus is on the unanticipated effects arising from the

worldwide increase in use of GBHs, coupled with recent discoveries about the toxicity and human




56
   Id.
57
   Id.
58
   Christopher J. Portier, et al., Differences in the carcinogenic evaluation of glyphosate between the International
Agency for Research on Cancer (IARC) and the European Food Safety Authority (EFSA), JOURNAL OF
EPIDEMIOLOGY & CMTY. HEALTH, Marc. 3, 2016, available at
http://jech.bmj.com/content/early/2016/03/03/jech-2015-207005.
59
   John P. Myers, et al., Concerns over use of glyphosate-based herbicides and risks associated with exposures: a
consensus statement, Environmental Health (2016), available at
http://ehjournal.biomedcentral.com/articles/10.1186/s12940-016-0117-0.
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health risks stemming from use of GBHs.”60 The researchers drew seven factual conclusions about

GBHs:

                1.      GBHs are the most heavily applied herbicide in the world and usage continues

                        to rise;

                2.      Worldwide, GBHs often contaminate drinking water sources, precipitation,

                        and air, especially in agricultural regions;

                3.      The half-life of glyphosate in water and soil is longer than previously

                        recognized;

                4.      Glyphosate and its metabolics are widely present in the global soybean

                        supply;

                5.      Human exposures to GBHs are rising;

                6.      Glyphosate is now authoritatively classified as a probable human carcinogen;

                        and

                7.      Regulatory estimates of tolerable daily intakes for glyphosate in the United

                        States and European Union are based on outdated science.61

          93.        The researchers noted that GBH use has increased approximately 100-fold since

the 1970s. Further, far from posing a limited hazard to vertebrates, as previously believed, two

decades of evidence demonstrated that “several vertebrate pathways are likely targets of action,

including hepatorenal damage, effects on nutrient balance through glyphosate chelating action

and endocrine disruption.”62




60
   Id.
61
   Id.
62
   Id.
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          94.   The paper attributed uncertainties in current assessments of glyphosate

formulations to the fact that “[t]he full list of chemicals in most commercial GBHs is protected as

‘commercial business information,’ despite the universally accepted relevance of such information

to scientists hoping to conduct an accurate risk assessment of these herbicide formulations.”

Further, the researchers argue, “[t]he distinction in regulatory review and decision processes

between ‘active’ and ‘inert’ ingredients has no toxicological justification, given increasing

evidence that several so-called ‘inert’ adjuvants are toxic in their own right.”63

          95.   Among various implications, the researchers conclude that “existing toxicological

data and risk assessments are not sufficient to infer that GBHs, as currently used, are safe.” Further,

“GBH-product formulations are more potent, or toxic, than glyphosate alone to a wide array of

non-target organisms including mammals, aquatic insects, and fish.” Accordingly, “risk

assessments of GBHs that are based on studies quantifying the impacts of glyphosate alone

underestimate both toxicity and exposure, and thus risk.” The paper concludes that this

“shortcoming has repeatedly led regulators to set inappropriately high exposure thresholds.”64

          96.   The researchers also critique the current practice of regulators who largely rely on

“unpublished, non-peer-reviewed data generated by the registrants” but ignore “published

research because it often uses standards and procedures to assess quality that are different from

those codified in regulatory agency data requirements, which largely focus on avoiding fraud.” In

the researchers’ view, “[s]cientists independent of the registrants should conduct regulatory tests

of GBHs that include glyphosate alone, as well as GBH-product formulations.”65




63
   Id.
64
   Id.
65
   Id.
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            97.    The researchers also call for greater inclusion of GBHs in government-led

toxicology testing programs:

             [A] fresh and independent examination of GBH toxicity should be undertaken,

             and ... this reexamination be accompanied by systemic efforts by relevant

             agencies to monitor GBH levels in people and in the food supply, none of which

             are occurring today. The U.S. National Toxicology Program should prioritize a

             thorough toxicology assessment of the multiple pathways now identified as

             potentially vulnerable of GBHs.66

            98.    The researchers suggest that, in order to fill the gap created by an absence of

government funds to support research on GBHs, regulators could adopt a system through which

manufacturers fund the registration process and the necessary testing:

            [W]e recommend that a system be put in place through which manufacturers of

            GBHs provide funds to the appropriate regulatory body as part of routine

            registration actions and fees. Such finds should then be transferred to appropriate

            government research institutes, or to an agency experienced in the award of

            competitive grants. In either case, funds would be made available to independent

            scientists to conduct the appropriate long-term (minimum 2 years) safety studies

            in recognized animal model systems. A thorough and modern assessment of GBH

            toxicity will encompass potential endocrine disruption, impacts on the gut

            microbiome, carcinogenicity, and multigenerational effects looking a reproductive

            capability and frequency of birth defects.67




66
     Id.
67
     Id.
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                 The FDA Announces Testing of Glyphosate Residue in Foods

        99.     On February 17, 2016, the U.S. Food and Drug Administration (“FDA”) announced

that, for the first time in its history, the agency planned to start testing certain foods for glyphosate

residues. FDA spokesperson Lauren Sucher explained: “The agency is now considering

assignments for Fiscal Year 2016 to measure glyphosate in soybeans, corn, milk, and eggs, among

other potential foods.”68

        100.    In 2004, the U.S. Government Accountability Office (“GAO”) had severely

rebuked the FDA for its failures to both monitor for pesticide residue, including that of glyphosate,

and to disclose the limitations of its monitoring and testing efforts to the public.69

        101.    Indeed, in the past, both the FDA and the U.S. Department of Agriculture

(“USDA”) had routinely excluded glyphosate from their testing for the residues of hundreds of

other pesticides, on the rationale that it was too expensive and unnecessary to protect public health.

Ms. Sucher (the FDA spokesperson) now states, however, that “the agency has developed

‘streamlined methods’ for testing for the weed killer.”70

        102.    The FDA’s move is significant as the agency possesses enforcement authority and

can seek action if pesticide residues exceed enforcement guidelines.71

                            European Union Vote on Glyphosate Renewal

        103.    The license for glyphosate in the European Union was set to expire in June 2016.




68
   Carey Gillam, FDA to Start Testing for Glyphosate in Food, TIME, Feb. 17, 2016, available at
http://time.com/4227500/fda-glyphosate-testing/?xid=tcoshare.
69
   U.S. GOV’T ACCOUNTABILITY OFFICE, GAO-15-38, FDA AND USDA SHOULD STRENGTHEN
PESTICIDE RESIDUE MONITORING PROGRAMS AND FURTHER DISCLOSE MONITORING LIMITATIONS
(2014), available at http://www.gao.gov/products/GAO-15-38.
70
   Gilliam, supra note 68.
71
   Id.; Pesticide Q&A, U.S. FOOD AND DRUG ADMINISTRATION, available at
https://www.fda.gov/food/foodborneillnesscontaminants/pesticides/ucm583711.htm.
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        104.     Without extension of the license, Monsanto’s Roundup® and other glyphosate-

based herbicides faced a general phase out in EU markets.72

        105.     In the months leading up to the license expiration date, protracted meetings and

votes among national experts from the 28 EU Member States failed to produce agreement on an

extension.

        106.     For instance, on March 4, 2016, The Guardian reported that France, the Netherlands,

and Sweden did not support the EFSA’s assessment that glyphosate was harmless.73 The paper

quoted the Swedish Environmental Minister, Åsa Romson, as stating: “We won’t take risks with

glyphosate and we don’t think that the analysis done so far is good enough. We will propose that

no decision is taken until further analysis has been done and the EFSA scientists have been more

transparent about their considerations.”74

        107.     The Netherlands argued that relicensing should be placed on hold until after a

separate evaluation of glyphosate’s toxicity can be conducted.75 Leading up to the vote, Italy joined

the other EU states in opposing licensing renewal, citing health concerns.76

        108.     On June 6, 2016, the Member States voted but failed to reach a qualified majority

in favor or against the re-authorization of glyphosate.77




72
   Philip Blenkinsop, Alissa de Carbonnel & Barbara Lewis, European Commission to extend glyphosate license for
18 months, REUTERS, June 28, 2016, available at http://www.reuters.com/article/us-health-eu-glyphosate-
idUSKCN0ZE25B.
73
   Arthur Neslen, EU States rebel against plans to relicense weedkiller glyphosate, THE GUARDIAN, Mar. 4,
2016, available at https://www.theguardian.com/environment/2016/mar/04/eu-states-rebel-against-plans-to-
relicense-weedkiller-glyphosate.
74
   Id.
75
   Arthur Neslen, Vote on controversial weedkiller’s European license postponed, THE GUARDIAN, Mar. 8, 2016,
available at https://www.theguardian.com/environment/2016/mar/08/eu-vote-on-controversial-weedkiller-licence-
postponed-glyphosate.
76
   Id.
77
   Manon Flausch, Commission prolongs glyphosate license by 18 months, EURACTIV, June 29, 2016, available at
https://www.euractiv.com/section/agriculture-food/news/commission-prolongs-glyphosate-licence-by-18-months/.
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        109.     On June 29, 2016, the EU Commission extended the European license for

glyphosate for 18 months to allow the European Chemical Agency to rule on the safety of the

chemical.78

        110.     On July 11, 2016, the EU voted in favor of a proposal to restrict the conditions of

use of glyphosate in the EU, including a ban on common co-formulant POEA from all glyphosate-

based herbicides, including Roundup®.79

        111.     On November 13, 2017, after heated debate over whether it causes cancer, and in a

very tight vote, the EU voted in favor of a limited (5-year) license for the use of glyphosate.80

                         Allegations Regarding Plaintiff and her Exposure

        112.     Plaintiff Albertine McCord regularly used Roundup® for at least 7 years while

working for the City of Charleston Environmental Services, in Charleston County, South Carolina

from the 2000 until 2007.

        113.     Additionally, from 2008 through 2009, Ms. McCord also used Roundup® at her

home in Charleston County, South Carolina.

        114.     Ms. McCord purchased Roundup® in South Carolina.

        115.     In April 2009, doctors diagnosed Ms. McCord with large B-cell lymphoma, a form

of NHL.

        116.     During the entire time in which Ms. McCord was exposed to Roundup®, she did

not know that Roundup® was injurious to her health or the health of others.




78
   Arthur Neslen, Controversial chemical in Roundup weedkiller escapes immediate ban, THE GUARDIAN, June
29, 2016, available at https://www.theguardian.com/business/2016/jun/29/controversial-chemical-roundup-
weedkiller-escapes-immediate-ban.
79
   Sarantis Michalopoulos, EU agrees ban on glyphosate co-formulant, EURACTIV, July 11, 2016, available at
https://www.euractiv.com/section/agriculture-food/news/eu-agrees-ban-on-glyphosate-co-formulant/.
80
   Caterina Tano, German vote swings EU decision on 5-year glyphosate renewal, November 27, 2016, available at
https://euobserver.com/environment/140042.
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        117.    As a result of Ms. McCord’s injuries, she has incurred significant economic and

non-economic damages.

                      TOLLING OF THE STATUTE OF LIMITATIONS

                                      Discovery Rule Tolling

        118.    Plaintiff Albertine McCord had no way of knowing about the risk of serious illness

associated with the use of and/or exposure to Roundup® and glyphosate during the entire time she

was using the product.

        119.    Within the time period of any applicable statute of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence, that exposure to Roundup® and

glyphosate is injurious to human health.

        120.    Plaintiff did not discover, and did not know of facts that would cause a reasonable

person to suspect, the risks associated with the use of and/or exposure to Roundup® and

glyphosate; nor would a reasonable and diligent investigation by Plaintiff have disclosed that

Roundup® and glyphosate would have caused her illness.

        121.    For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiff’s claims.

                                     Fraudulent Concealment

        122.    All applicable statutes of limitations have also been tolled by Monsanto’s knowing

and active fraudulent concealment and denial of the facts alleged herein through the time period

relevant to this action.

        123.    Instead of disclosing critical safety information about Roundup® and glyphosate,

Monsanto has consistently and falsely represented the safety of its Roundup® products.
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       124.     Monsanto was under a continuous duty to disclose to consumer, users, and other

persons coming into contact with its products, including Albertine McCord, accurate safety

information concerning its products and the risks associated with the use of and/or exposure to

Roundup® and glyphosate.

       125.     Instead, Monsanto knowingly, affirmatively, and actively concealed safety

information concerning Roundup® and glyphosate and the serious risks with the use of and/or

exposure to its products.

       126.     Based on the foregoing, Monsanto is estopped from relying on any statutes of

limitations in defense of this action.

                              FOR A FIRST CAUSE OF ACTION
                            (Strict Products Liability – Design Defect)

       127.     Plaintiff Albertine McCord realleges paragraphs 1 through 126 above as if fully set

forth herein.

       128.     Plaintiff brings this strict liability claim against Defendant for defective design.

       129.     At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, users and other persons

coming into contact with them, including Albertine McCord, thereby placing Roundup® products

into the stream of commerce. These actions were under the ultimate control and supervision of

Defendant.

       130.     At all times relevant to this litigation, Defendant designed, researched, developed,

formulated, manufactured, produced, tested, assembled, labeled, advertised, promoted, marketed,

sold and distributed the Roundup® products used by Albertine McCord, and/or to which Albertine

McCord was exposed, as described above.
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       131.    At all times relevant to this litigation, Defendant’s Roundup® products were

manufactured, designed and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public, and, in particular, Albertine McCord.

       132.    At all times relevant to this litigation, Defendant’s Roundup® products reached the

intended consumers, handlers, and users or other persons coming into contact with these products in

South Carolina and throughout the United States, including Albertine McCord without substantial

change in their condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants.

       133.    Defendant’s Roundup® products, as researched, tested, developed, designed,

licensed, formulated, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendant, were defective in design and formulation in that when they left the hands of the

Defendant’s manufacturers and/or suppliers, they were unreasonably dangerous because they were

not as safe as an ordinary consumer would expect when used in an intended or reasonably

foreseeable manner.

       134.    Defendant’s Roundup® products as researched, tested, developed, designed,

licensed, formulated, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendant, were defective in design and formulation in that when they left the hands of the

Defendant’s manufacturers and/or suppliers, the foreseeable risks associated with these products’

reasonably foreseeable uses exceeded the alleged benefits associated with their design and

formulation.

       135.    Therefore, at all times relevant to this litigation, Defendant’s Roundup® products,

as re-searched, tested, developed, designed, licenses, manufactured, packaged, labeled, distributed,
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sold, and marketed by Defendant, were defective in design and formulation, in one or more of the

following ways:

           a. When placed in the stream of commerce, Defendant’s Roundup® products were

              defective in design and formulation, and, consequently, dangerous to an extent

              beyond that which an ordinary consumer would expect.

           b. When placed in the stream of commerce, Defendant’s Roundup® products were

              unreasonably dangerous in that they were hazardous and posed a grave risk of

              cancer and other serious illness when used in a reasonably anticipated manner.

           c. When placed in the stream of commerce, Defendant’s Roundup® products

              contained unreasonably dangerous design defects and were not reasonably safe

              when used in a reasonably anticipated or intended manner.

           d. Defendant did not sufficiently test, investigate, or study its Roundup® products

              and, specifically, the active ingredient glyphosate.

           e. Exposure to Roundup® and the glyphosate containing products presents a risk of

              harmful side effects that outweighs a potential utility stemming from the use of the

              herbicide.

           f. Defendant knew or should have known at the time of marketing its Roundup®

              products that exposure to Roundup® and specifically, its active ingredient

              glyphosate, could result in cancer and other severe illness and injuries.

           g. Defendant did not conduct adequate post-marketing surveillance of its Roundup®

              products.

           h. Defendant could have employed safer alternative designs and formulations.
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        136.    At all times relevant to this litigation, Albertine McCord used and/or was exposed

to the use of Defendant’s Roundup® products in an intended and reasonably foreseeable manner

without knowledge of their dangerous characteristics.

        137.    Albertine McCord could have not reasonably discovered the defects and risk

associated with Roundup® or glyphosate-containing products before or at time of exposure.

        138.    The harm caused by Defendant’s Roundup® products far outweighed their benefit,

rendering Defendant’s products dangerous to an extent beyond that which an ordinary consumer

would contemplate. Defendant’s Roundup® products were and are more dangerous than

alternative products and Defendant could have designed its Roundup® products to make them

less dangerous. Indeed, at the time that Defendant designed its Roundup® products, the state of

the industry’s scientific knowledge was such that a less risky design or formulation was attainable.

        139.    At the time Roundup® products left Defendant’s control, there was a practical,

technically feasible, and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of Defendant’s Roundup®

herbicides.

        140.    Defendant’s defective design of Roundup® amounts to willful, wanton, and/or

reckless conduct by Defendant.

        141.    Therefore, as a result of unreasonably dangerous condition of its Roundup®

products, Defendant is strictly liable to Plaintiff.

        142.    The defects in Defendant’s Roundup® products were substantial and contributing

factors in causing Albertine McCord’s grave injuries, and if not for Defendant’s misconduct and

omissions, Ms. McCord would not have sustained her injuries.
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        143.    As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Albertine McCord developed NHL and suffered grave

injuries that are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as economic hardship, including considerable financial

expenses for medical care and treatment.

        WHEREFORE, Plaintiff respectfully request that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees, and all such other costs and further relief as this Court deems just and proper. Plaintiff also

demands a jury trial on the issues contained herein.

                            FOR A SECOND CAUSE OF ACTION
                          (Strict Products Liability – Failure to Warn)

        144.    Plaintiff Albertine McCord re-alleges paragraphs 1 through 126 above as if fully

set forth herein.

        145.    Plaintiff brings this strict liability claim against Defendant for failure to warn.

        146.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, including Albertine

McCord, because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and specifically, the active ingredient glyphosate. These actions were

under the ultimate control and supervision of Defendant.

        147.    Defendant researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

its Roundup® products, and in the course of same, directly advertised or marketed the products to

consumers and end users, including Albertine McCord, and Defendant therefore had a duty to warn
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of the risks associated with the reasonably foreseeable uses (and misuses) of Roundup® and

glyphosate-containing products and a duty to instruct on the proper, safe use of these products.

        148.    At all times relevant to this litigation, Defendant had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain, supply,

provide proper warnings, and take such steps as necessary to ensure that its Roundup® products

did not cause users and consumers to suffer from unreasonably and dangerous risks. Defendant

had a continuing duty to instruct on the proper, safe use of these products. Defendant, as

manufacturer, seller, or distributor of chemical herbicides, is held to the knowledge of an expert

in the field.

        149.    At the time of manufacture, Defendant could have provided warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing

products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to these products.

        150.    At all times relevant to this litigation, Defendant failed to investigate, study, test,

or promote the safety of its Roundup® products. Defendant also failed to minimize the dangers to

users and consumers of its Roundup® products and to those who would foreseeably use or be

harmed by Defendant’s herbicides, including Albertine McCord.

        151.    Despite the fact that Defendant knew or should have known that Roundup®

products posed a grave risk of harm, it failed to warn of the dangerous risks associated with their

use and exposure. The dangerous propensities of its products and the carcinogenic characteristics

of glyphosate, as described above, were known to Defendant, or scientifically knowable to

Defendant through appropriate research and testing by known methods, at the time it distributed,
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supplied, or sold the product and not known to end users and consumers, such as Albertine

McCord.

       152.    Defendant knew or should have known that its Roundup® and glyphosate-

containing products created significant risks of serious bodily harm to consumers, as alleged

herein, and Defendant failed to adequately warn consumers and reasonably foreseeable users of

the risks of exposure to these products. Defendant has wrongfully concealed information

concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further

made false and/or misleading statements concerning the safety of Roundup® and glyphosate.

       153.    At all times relevant to this litigation, Defendant’s Roundup® products reached the

intended consumers, handlers, and users or other persons coming into contact with the products

throughout the United States, including Albertine McCord, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Defendant.

       154.    At all times relevant to this litigation, Albertine McCord used and/or was exposed

to the use of Defendant’s Roundup® products in their intended or reasonably foreseeable manner

without knowledge of their dangerous characteristics.

       155.    Albertine McCord could not have reasonably discovered the defects and risk

associated with Roundup® or glyphosate-containing products before or at the time of her exposure.

Ms. McCord relied upon the skill, superior knowledge, and judgment of Defendant.

       156.    Monsanto, as the manufacturer and/or distributor of Roundup®, is held to the level

of knowledge of an expert in the field.

       157.    Defendant knew or should have known that the minimal warnings disseminated

with its Roundup® products were inadequate, but it failed to communicate adequate information

on the dangers and safe use/exposure and failed to communicate warnings and instructions that
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were appropriate and adequate to render the products safe for their ordinary, intended, and

reasonably foreseeable uses, including agricultural and horticultural applications.

       158.    The information that Defendant did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled agricultural workers,

horticultural workers, and /or at-home users to utilize the products safely and with adequate

protection. Instead, Defendant disseminated information that was inaccurate, false, and misleading

and which failed to communicate accurately or adequately the comparative severity, duration, and

extent of the risk of injuries associated with use of and/or exposure of Roundup and glyphosate.

Defendant continued to aggressively promote the efficacy of its products, even after it knew or

should have known of the unreasonable risks from use or exposure and concealed, downplayed, or

otherwise suppressed, through aggressive marketing and promotion, any information or research

about the risks and dangers of exposure to Roundup® and glyphosate.

       159.    To this day, Defendant has failed to adequately and accurately warn of the true risks

of Albertine McCord’s injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate, a probable carcinogen.

       160.    As a result of their inadequate warnings, Defendant’s Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Albertine McCord.

       161.    Defendant is liable to Plaintiff for injuries caused by its failure, as described above,

to provide adequate warnings or other clinically relevant information and data regarding the

appropriate use of its Roundup products and the risk associated with the use of or exposure to

Roundup® and glyphosate.
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        162.    The defects in Defendant’s Roundup® products were substantial and contributing

factors in causing Albertine McCord’s injuries, and if not for Defendant’s misconduct and

omissions, Ms. McCord would not have sustained her injuries.

        163.    Had Defendant provided adequate warnings and instructions and properly disclosed

and disseminated the risk associated with its Roundup® products, Albertine McCord could have

avoided the risk of developing injuries as alleged herein and Ms. McCord could have obtained

alternative herbicides.

        164.    As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Albertine McCord developed NHL and suffered grave

injuries that are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as economic hardship, including considerable financial

expenses for medical care and treatment.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees and all such other and further relief as this Court deems just and proper. Plaintiff also demands

a jury trial on the issues contained herein.

                              FOR A THIRD CAUSE OF ACTION
                                       (Negligence)

        165.    Plaintiff Albertine McCord re-alleges paragraphs 1 through 126 above as if fully

set forth herein.

        166.    Defendant, directly or indirectly, caused Roundup® products to be sold,

distributed, packaged, labeled, marketed, and/or promoted.

        167.    Defendant, directly or indirectly, caused Roundup® products to be purchased

and/or used by Albertine McCord.
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       168.    At all times relevant to this litigation, Defendant had a duty to exercise reasonable

care in the design, research, manufacture, marketing, advertisement, supply, promotion,

packaging, sale, and distribution of its Roundup® products, including the duty to take all

reasonable steps necessary to manufacture, promote, and/or sell a product that was not

unreasonably dangerous to consumers, users, and other persons coming into contact with the

product.

       169.    At all times relevant to this litigation, Defendant had a duty to exercise reasonable

care in the marketing, advertising, and sale of its Roundup® products. Defendant’s duty of care

owed to consumer and the general public included providing accurate, true, and correct

information concerning the risks of using Roundup® and appropriate, complete, and accurate

warnings concerning the potential adverse effects of exposure to Roundup® and, in particular, its

active ingredient glyphosate.

       170.    At all times relevant to this litigation, Defendant knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup® and specifically, the

carcinogenic properties of the chemical glyphosate.

       171.    Accordingly, at all times relevant to this litigation, Defendant knew or, in the

exercise of reasonable care, should have known that use or exposure to its Roundup® products

could cause Albertine McCord’s injuries and thus, created a dangerous and unreasonable risk of

injury to the users of these products, including Ms. McCord.

       172.    Defendant knew or, in the exercise of reasonable care, should have known that

Roundup® is more toxic than glyphosate alone and that safety studies on Roundup®, Roundup’s

adjuvants and “inert” ingredients, and/or the surfactant POEA were necessary to protect Albertine

McCord from Roundup®.
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        173.   Defendant knew or, in the exercise of reasonable care, should have known that tests

limited to Roundup’s active ingredient glyphosate were insufficient to prove the safety of

Roundup®.

        174.   Defendant also knew or, in the exercise of reasonable care, should have known that

users and consumers of Roundup® were unaware of the risks and the magnitude of the risks

associated with the use of and/or exposure to Roundup® and glyphosate-containing products.

        175.   As such, Defendant breached its duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup® products, in that

Defendant manufactured and produced defective herbicides containing the chemical glyphosate,

knew or had reason to know of the defects inherent in its products, knew or had reason to know

that a user’s or consumer’s exposure to the products created a significant risk of harm and

unreasonably dangerous side effects, and failed to prevent or adequately warn of these risks and

injuries.

        176.   Defendant failed to appropriately and adequately test Roundup®, Roundup®

adjuvants and “inert” ingredients, and/or the surfactant POEA to protect Albertine McCord from

Roundup®.

        177.   Despite the ability and means to investigate, study, and test its products and to

provide adequate warnings, Defendant has failed to do so. Indeed, Defendant has wrongfully

concealed information and has further made false and/or misleading statements concerning the

safety and/or exposure to Roundup® and glyphosate.

        178.   Defendant’s negligence included:
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       a. Manufacturing, producing, promoting, formulating, creating, developing,

          designing, selling, and/or distributing its Roundup® products without thorough

          and adequate pre- and post-market testing.

       b. Manufacturing, producing, promoting, formulating, creating, developing,

          designing, selling, and/or distributing Roundup® while negligently and/or

          intentionally concealing and failing to disclose the results of trials, tests and

          studies of exposure to glyphosate, and, consequently, the risk of serious harm

          associated with human use of and exposure to Roundup®.

       c. Failing to undertake sufficient studies and conduct necessary tests to determine

          whether or not Roundup® products and glyphosate-containing products were

          safe for their intended use in agriculture, horticulture, and at-home use;

       d. Failing to undertake sufficient studies and conduct necessary tests to determine

          the safety of “inert” ingredients and/or adjuvants contained within Roundup®,

          and the propensity of these ingredients to render Roundup® toxic, increase the

          toxicity of Roundup®, whether these ingredients are carcinogenic, magnify the

          carcinogenic properties of Roundup®, and whether or not “inert” ingredients

          and/or adjuvants were safe for use;

       e. Failing to use reasonable and prudent care in the design, research, manufacture,

          formulation, and development of Roundup® products so as to avoid the risk of

          serious harm associated with the prevalent use of Roundup®/glyphosate as a

          herbicide;

       f. Failing to design and manufacture Roundup® products so as to ensure they

          were at least as safe and effective as other herbicides on the market;
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       g. Failing to provide adequate instructions, guidelines, and safety precautions to

          those persons who Defendant could reasonably foresee would use and/or be

          exposed to its Roundup® products;

       h. Failing to disclose to Albertine McCord, users, consumers, and the general

          public that the use of and exposure to Roundup® presented severe risks of

          cancer and other grave illnesses;

       i. Failing to warn Albertine McCord, users, consumers, and the general public

          that the products’ risk of harm was unreasonable and that there were safer and

          effective alternative herbicides available to Ms. McCord and other users or

          consumers;

       j. Systemically suppressing or downplaying contrary evidence about the risks,

          incidence, and prevalence of the side effects of Roundup® and glyphosate-

          containing products;

       k. Representing that its Roundup® products were safe for their intended use when

          in fact, Defendant knew or should have known that the products were not safe

          for their intended use;

       l. Declining to make or propose any changes to Roundup® products’ labeling or

          other promotional materials that would alert the consumers and the general

          public of the risk of Roundup® and glyphosate.

       m. Advertising, marketing, and recommending the use of Roundup® products,

          whole concealing and failing to disclose or warn of the dangers known by

          defendant to be associated with or caused by the use of and exposure to

          Roundup® and glyphosate;
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               n. Continuing to disseminate information to its consumers, which indicate or

                   imply that Defendant’s Roundup® products are not unsafe for use in the

                   agricultural, horticultural industries, and/or home use; and

               o. Continuing the manufacture and sale of its products with the knowledge that

                   the products were unreasonably unsafe and dangerous.

       179.    Further, Monsanto under-reported, underestimated, and downplayed the serious

dangers of its Roundup® products. Specifically, Monsanto negligently and deceptively compared

the safety risks and/or dangers of Roundup® with common everyday foods such as table salt and

other available forms of herbicides.

       180.    Defendant knew or should have known that it was foreseeable that consumers

and/or users, such as Albertine McCord, would suffer injuries as a result of Defendant’s failure to

exercise ordinary care in the manufacturing, marketing, labeling, distribution, and sale from

Roundup®.

       181.    Albertine McCord did not know the nature and extent of the injuries that could result

from the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       182.    Defendant’s negligence was the proximate cause of the injuries, harm, and

economic losses that Albertine McCord suffered, as described herein.

       183.    Defendant’s conduct, as described above, was reckless. Defendant regularly risks

the lives of consumers and users of its products, including Albertine McCord, with full knowledge

of the dangers of its products. Defendant has made conscious decisions not to redesign, re-label,

warn, or inform the unsuspecting public, including Ms. McCord. Defendant’s reckless conduct

therefore warrants an award of punitive damages.
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        184.    As a proximate result of Defendant’s wrongful acts and omission in placing its

defective Roundup® products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, Albertine McCord developed NHL and suffered

grave injuries that are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as economic hardship, including considerable financial

expenses for medical care and treatment.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees, and all such other and further relief as this Court deems proper and just. Plaintiff also demands

a jury trial on the issues contained herein.

                            FOR A FOURTH CAUSE OF ACTION
                               (Breach of Express Warranty)

        185.    Plaintiff Albertine McCord re-alleges paragraphs 1 through 126 above as if fully

set forth herein.

        186.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing manufacturing, marketing, selling, distributing, and promoting its

Roundup® products, which are defective and unreasonably dangerous to consumers, including

Albertine McCord, thereby placing Roundup® products into the stream of commerce. These

actions were under the ultimate control and supervision of Defendant, and their Roundup®

products were expected to, and did, reach Albertine McCord without any substantial change in

their condition.

        187.    At all times relevant to this litigation, Defendant expressly represented and

warranted to the purchasers of its Roundup® products, by and through statements made by

Defendant in labels, publications, package insert, and other written materials intended to
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consumers and the general public, that its Roundup® products were safe to human health and the

environment, effective, fit, and proper for their intended use. Defendant advertised, labeled,

marketed, and promoted Roundup® products, representing the quality to consumers and the public

in such a way as to induce their purchase or use, thereby making an express warranty that its

Roundup® products would conform to the representations.

       188.    These express representations included incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

Roundup® and glyphosate. Defendant knew or should have known that the risks expressly

included in Roundup® warnings and labels did not and do not accurately and adequately set forth

the risks of developing the serious injuries complained of herein. Nevertheless, Defendant

expressly represented that its Roundup® products were safe and effective, that they were safe and

effective for use by individuals such as Albertine McCord, and/or that they were safe and effective

as agricultural herbicides.

       189.    The representations about Roundup®, as set forth herein, contained or constituted

affirmations of fact or promises made by the seller to the buyer, which related to the goods and

became part of the basis of the bargain, creating an express warranty that the goods would conform

to the representations.

       190.    Defendant placed its Roundup® products into the stream of commerce for sale and

recommended their use to consumers and the public without adequately warning of the true risks

of developing the injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate.

       191.    Defendant breached these warranties because, among other things, its Roundup®

products were defective, dangerous, unfit for use, did not contain labels representing the true and
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adequate nature of the risk associated with their use, and were not merchantable or safe for their

intended, ordinary, and foreseeable use and purpose. Specifically Defendant breached the

warranties in the following ways:

               a. Defendant represented through its labeling, advertising, and marketing

                  materials that its Roundup® products were safe, and fraudulently withheld and

                  concealed information about the risks of serious injury associated with use of

                  and/or exposure to Roundup® and glyphosate by expressly limiting the risks

                  associated with use and/or exposure within its warnings and labels; and

               b. Defendant represented that its Roundup® products were safe for use and

                  fraudulently concealed information that demonstrated that glyphosate, the

                  active ingredient in Roundup®, had carcinogenic properties, and that its

                  Roundup® products, therefore, were not safer than alternatives available on the

                  market.

       192.    Defendant has sole access to material facts concerning the nature of risks associated

with its Roundup® products as expressly stated within its warnings and labels, and Defendant

knew that consumers and users such as Albertine McCord could not have reasonably discovered

that the risks expressly included in Roundup® warnings and labels were inadequate and inaccurate.

       193.    Albertine McCord had no knowledge of the falsity or incompleteness of

Defendant’s statements and representations concerning Roundup®, and she relied to her detriment

on these statements and representations.

       194.    Albertine McCord used and/or was exposed to the use of Roundup® as researched,

developed, designed, tested, formulated, manufactured, inspected, labeled, distributed, packaged,

marketed, promoted, sold, or otherwise released into the stream of commerce by Defendant.
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       195.    Had the warning and labels for Roundup® products accurately and adequately set

forth the true risks associated with the use of such products, including Albertine McCord’s injuries,

rather than expressly excluding such information and warranting that the products were safe for

their intended use, Ms. McCord could have avoided the injuries complained of herein.

       196.    As a direct and proximate result of Defendant’s wrongful acts and omissions,

Albertine McCord suffered severe injuries. Ms. McCord developed NHL and suffered grave

injuries that are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as economic hardship, including considerable financial

expenses for medical care and treatment.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees, and all such other and further relief as this Court deems proper and just. Plaintiff also demands

a jury trial on the issues contained herein.

                              FOR A FIFTH CAUSE OF ACTION
                                (Breach of Implied Warranties)

Plaintiff Albertine McCord re-alleges paragraphs 1 through 126 above as if fully set forth herein.

       197.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, formulating, manufacturing, marketing, selling, distributing, and

promoting its Roundup® products, which are defective and unreasonably dangerous to users and

consumers, including Albertine McCord, thereby placing Roundup® products into the stream of

commerce.

       198.    These actions were under the ultimate control and supervision of Defendant.

       199.    Before the time that Albertine McCord was exposed to the use of the

aforementioned Roundup® products, Defendant impliedly warranted to its consumers and users,
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including Ms. McCord, that its Roundup® products were of merchantable quality and safe and fit

for the use for which they were intended; specifically, as horticultural herbicides.

       200.    Defendant, however, failed to disclose that Roundup has dangerous propensities

when used as intended and that the use of and/or exposure to Roundup® and glyphosate-

containing products carries an increased risk of developing severe injuries, including Albertine

McCord’s injuries.

       201.    Albertine McCord reasonably relied upon the skill, superior knowledge, and

judgment of Defendant and upon its implied warranties that the Roundup® products were of

merchantable quality and for their intended purpose or use.

       202.    The Roundup® products were expected to reach and did in fact reach consumers

and users, including Albertine McCord, without substantial change in the condition in which they

were manufactured and sold by Defendant.

       203.    At all times relevant to this litigation, Defendant was aware that consumers and

users of its products, including Albertine McCord, would use Roundup® products as marketed by

Defendant, which is to say that Ms. McCord was the foreseeable user of Roundup®.

       204.    Defendant intended that its Roundup® products be used in the manner in which

Albertine McCord in fact used them and Defendant impliedly warranted each product to be of

merchantable quality, safe, and fit for this use, despite the fact that Roundup® was not adequately

tested or researched.

       205.    In reliance upon Defendant’s implied warranty, Albertine McCord used Roundup®

as instructed and labeled and in the foreseeable manner intended, recommended promoted, and

marketed by Defendant.
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        206.    Albertine McCord could not have reasonably discovered or known of the risk of

serious injury associated with Roundup® or glyphosate.

        207.    Defendant breached its implied warranty to Albertine McCord in that its Roundup®

products were not of merchantable quality, safe, or fit for their intended use, or adequately tested.

Roundup® has dangerous propensities when used as intended and can cause serious injuries,

including those injuries complained of herein.

        208.    The harm caused by Defendant’s Roundup® products far outweighed their benefit,

rending the products more dangerous than an ordinary customer or user would expect and more

dangerous than alternative products.

        209.    As a direct and proximate result of Defendant’s wrongful acts and omissions

Albertine McCord suffered severe physical and emotional injuries. Ms. McCord developed NHL

and suffered grave injuries that are permanent and lasting in nature, physical pain and mental

anguish, including diminished enjoyment of life, as well as economic hardship, including

considerable financial expenses for medical care and treatment.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees, and all such other and further relief as this Court deems proper and just. Plaintiff also demands

a jury trial on the issues contained herein.

                             FOR A SIXTH CAUSE OF ACTION
                          (Negligent Misrepresentation and/or Fraud)

        210.    Plaintiff Albertine McCord re-alleges paragraphs 1 through 126 above as if fully

set forth herein.

        211.    Defendant is the manufacturer, designer, distributor, seller or supplier of

Roundup® and, while engaged in the course of such business, made representations to Albertine
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McCord regarding the character and/or quality of, for guidance in his decision to select Roundup

for use.

           212.   Defendant had a duty to disclose material information about serious health effects

to consumers such as Albertine McCord. Defendant intentionally failed to disclose this information

for the purpose of inducing consumers, including Albertine McCord, to purchase Defendant’s

dangerous products.

           213.   Specifically, Defendant’s advertisements regarding Roundup® made material

misrepresentations to the effect that Roundup® was safe, which misrepresentations Defendant

knew to be false, for the purpose of fraudulently inducing consumers, such as Albertine McCord,

to purchase said product. Defendant further misrepresented that its products were just as safe, and

just as effective or more effective, than other weed control products on the market.

           214.   Defendant’s representations regarding the character or quality of Roundup® were

untrue. In addition, Defendant fraudulently suppressed material information regarding the safety

of Roundup®, including the dangers known by Defendant to be associated with or caused by the

use of or exposure to Roundup® and glyphosate.

           215.   Defendant had actual knowledge based on the results of trials, tests, and studies of

exposure to glyphosate, of the risk of serious harm associated with human use of and exposure to

Roundup®.

           216.   Defendant negligently and or intentionally misrepresented or omitted this

information in its product labeling, promotions and advertisements and instead labeled, promoted

and advertised its products as safe and effective in order to avoid losses and sustain profits in its

sales to consumers.
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        217.    In supplying the false information, Defendant failed to exercise reasonable care or

competence in obtaining or communicating information to their intended recipients, including

Albertine McCord.

        218.    Albertine McCord reasonably relied to her detriment upon Defendant’s

misrepresentations and/or omissions in its labeling, advertisements, and promotions concerning

the serious risks posed by the product. Albertine McCord reasonably relied upon Defendant’s

representations to her that Roundup® was safe for use and that Defendant’s labeling,

advertisements and promotions fully described all known risks of the product.

        219.    Defendant is estopped from relying on any statute of limitations defenses because

Defendant actively concealed the defects from consumers, such as Albertine McCord. Instead of

revealing the defects, Defendant continued to represent its product as safe for its intended use.

        220.    As a direct and proximate result of Albertine McCord’s use of Roundup® as

manufactured, designed, sold, supplied and introduced into the stream of commerce by Defendant,

Albertine McCord suffered personal injury, non-economic damages, and will continue to suffer

such harm and damages in the future.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees, and all such other and further relief as this Court deems proper and just. Plaintiff also demands

a jury trial on the issues contained herein.

                            FOR A SEVENTH CAUSE OF ACTION
                             (Unfair and Deceptive Trade Practices)

        221.    Plaintiff Albertine McCord re-alleges paragraphs 1 through 126 above as if fully

set forth herein.
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       222.   By reason of its conduct as alleged herein, Defendant violated the provisions of

Title 39, Chapter 5 of the South Carolina Unfair Trade Practices Act (“the Act”) by inducing

Albertine McCord to use Roundup® through the use of false and/or misleading advertising,

representations and statements.

       223.   By engaging in the conduct described herein, Defendants violated the Act by,

among other things:

              a. engaging in unfair or deceptive trade practices as defined in this statute by

                  making false and misleading oral and written statements that had the capacity,

                  tendency, or effect of deceiving or misleading consumers.

              b. engaging in unfair or deceptive trade practices as defined in this statute by

                  making representations that its products had an approval, characteristic,

                  ingredient, use or benefit which they did not have, including but not limited to

                  statements concerning the health consequences of the use of Roundup®.

              c. engaging in unfair or deceptive trade practices as defined in this statute by

                  failing to state material facts, the omission of which deceived or tended to

                  deceive, including but not limited to facts relating to the health consequences

                  of the use of Roundup®.

              d. engaging in unfair or deceptive trade practices as defined in this statute through

                  deception, fraud, misrepresentation and knowing concealment, suppression and

                  omission of material facts with the intent that consumers rely upon the same in

                  connection with the use and continued use of Roundup®.

       224.   As a direct and proximate result of Defendant’s violations of the Act, Albertine

McCord suffered severe physical and emotional injuries. Ms. McCord developed NHL and
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suffered grave injuries that are permanent and lasting in nature, physical pain and mental anguish,

including diminished enjoyment of life, as well as economic hardship, including considerable

financial expenses for medical care and treatment.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

fees, and all such other and further relief as this Court deems proper and just. Plaintiff also demands

a jury trial on the issues contained herein.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

and against Monsanto, awarding as follows:

       A. Compensatory damages in the form of medical expenses, out-of-pocket expenses, lost

           earnings, and other economic damages in an amount to be proven at trial;

       B. Compensatory damages for pain and suffering, emotional distress, loss of enjoyment

           of life, and other non-economic damages in an amount to be determined at trial;

       C. Punitive damages for the wanton, willful, fraudulent, and reckless acts of the Defendant

           who demonstrated a complete disregard and reckless indifference for the safety and

           welfare of the general public and to the Plaintiff in an amount sufficient to punish

           Defendant and deter future similar conduct, to the extent allowable by applicable law;

       D. Pre- and post-judgment interest;

       E. Costs including attorneys’ fees, court costs, and other litigation expenses; and

       F. Any other relief that this Court may deem just and proper.
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                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands trial by jury as to all issues.



Dated 27th day of July 2018.




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